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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )     DOCKET NO. 06-10427-PBS
                                                   )
    JEFFREY SHIELDS                                )
                                                   )
    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )     DOCKET NO. 06-10439-PBS
                                                   )
    JOEL WETMORE                                   )
                                                   )


    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )     DOCKET NO. 06-10449-PBS
                                                   )
    CHARLES PEAVY                                  )
                                                   )

           ASSENTED-TO MOTION FOR ADDITIONAL TIME TO FILE BRIEFS

       Now come respondents Jeffrey Shields, Joel Wetmore, and Charles Peavy through

counsel and request that this Court allow them an additional 7 days to file briefs raising

constitutional challenges to the sexually dangerous person statute, 18 U.S.C. § 4248. The briefs

are presently due on May 7, 2007; the defendants request that they be allowed to file the briefs on

May 14, 2007. In support of this request counsel state that they require the additional time to

prepare the briefs due to the novel nature of the issues presented and very heavy caseloads. In

addition, defendants anticipate receipt of a discovery response from the government that could

have implications for the content their briefs.

       The government has assented to this request.
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                                                         JEFFREY SHIELDS
                                                         JOEL WETMORE
                                                         CHARLES PEAVY
                                                         By their attorneys,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on May 4, 2007.

                                                      Page Kelley
